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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                  Case No: 9:16-CV-81871-KAM

  LAN LI, et al.,

         Plaintiffs,
  v.

  JOSEPH WALSH, et al.,

         Defendants.

                                         /

   EVANS DEFENDANTS’ NOTICE OF NO OBJECTION TO KKPB FINANCIAL, LLC’S
               MOTION FOR LEAVE TO AMEND CROSSCLAIM
         NOW COME Defendants, LESLIE ROBERT EVANS and LESLIE ROBERT EVANS &

  ASSOCIATES, P.A., (collectively referred to as “Evans Defendants”), by and through

  undersigned counsel, and hereby state that they do not object to the granting of KKPB Financial,

  LLC’s Motion for Leave to File Amended Crossclaims [DE313].

                                      Respectfully submitted,

                                      LAW OFFICES OF GREGORY R. ELDER, LLC

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                                 CERTIFICATE OF SERVICE
  I HEREBY CERTIFY that on this 29th day of August, 2018, I served the forgoing and
  designated documents via email on all counsel of record, whose addresses are listed below.

                                              BY: /s/Gregory R. Elder




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                                         SERVICE LIST
                                 Lan Li, et al., v. Joseph Walsh,
                                 et al. Case No. 1:16-cv-81871

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